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                      UNITED STATES DISTRICT COURT
                       MIDDLE DISTRICT OF FLORIDA
                         JACKSONVILLE DIVISION

JATOON MOSS, as Personal
Representative for the Estate of
Craig Ridley, on behalf of the
Estate and Survivors Jatoon Moss
and Gary Ridley,

      Plaintiff,
vs.                                   Case No.: 3:21-cv-1026-MMH-MCR

RICKY D. DIXON, et al.,

     Defendants.
_____________________________________/

                   MOTION TO VACATE CLERK’S DEFAULTS

      Defendants WILLIAM JEFFREY JERRELS, JACOB ANDERSON,

DANIEL KLEIN, JASON LIVINGSTON, JOHN NYITRAY, and STEVEN

POTOSKY, by and through their undersigned counsel, pursuant to Rule 55(c),

Fed. R. Civ. Proc., hereby moves this Honorable Court for the entry of an Order

Vacating Clerk’s Defaults entered against each Defendant (all dated April 28,

2022) (ECF No. 54) and in support thereof, states as follows:


                                Procedural Facts

      1.     Plaintiff filed his initial complaint on October 12, 2021. (ECF No.

1).



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      2.    On January 26, 2022, Plaintiff filed Returns of Service upon

Defendant KLEIN (ECF No. 19-1, p. 5), Defendant JERRELS (ECV No. 19-1 p.

6), Defendant NYITRAY (ECF No. 19-1, p. 9), Defendant POTOSKY (ECF No.

19-1, p. 11), Defendant ANDERSON (ECF No. 19-1, p.12), and Defendant

LIVINGSTON (ECF No. 19-1, p. 13).

      3.    On February 18, 2022, Plaintiff filed his First Amended Complaint.

(ECF No. 30).

      4.    On April 13, 2022, this Court entered its Order to Show Cause why

the claims against Defendants KLIEN, JERRRELS, NYITRYA, ANDERSON,

LIVINGSTON, and POTOSKY should not be dismissed without prejudice for

failure to comply with the Local Rule 1.110(b) requiring Plaintiff to apply for a

default within 28 days of the party’s failure to plead or otherwise defend. (ECF

No. 45).

      5.    On April 22, 2022, Plaintiff responded to the Order to Show Cause,

(ECF No. 48) attaching the Returns of Service identified in paragraph 2 above,

which showed service of the initial complaint prior to the filing of the First

Amended Complaint.

      6.    On April 25, 2022, this Court entered its Order (ECF No. 50)

discharging the Order to Show Cause found at ECF No. 17, finding that




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Defendants JERRELS,       NYITRYA,          ANDERSON,       LIVINGSTON,          and

POTOSKY “are deemed timely served.” 1

      7.    The same day (April 25, 2022), Plaintiff filed his Motion for Clerk’s

Defaults against Defendants ANDERSON JERRELS, KLIEN, LIVINGSTON,

NYITRAY, and POTOSKY. (ECF No. 53).

      8.    On April 28, 2022, the Clerk entered Clerk’s Defaults against

Defendants ANDERSON JERRELS, KLIEN, LIVINGSTON, NYITRAY, and

POTOSKY. (ECF No. 54).

      MEMORANDUM OF LAW IN SUPPORT OF MOTION TO VACATE


      Pursuant to Rule 55(c), Federal Rules of Civil Procedure, a court may set

aside the entry of a default "for good cause." As Judge Kovachevich has noted:

            "Good cause" is a liberal, elastic standard that does not
            have a precise formula. Compania Interamaricana Export-
            Import, S.A. v. Compania Dominica De Aviacion, 88 F.3d
            948, 951 (11th Cir. 1996) citing Coon v. Grenier, 867
            F.2d 73, 76 (1st Cir. 1989). The court looks at a number
            of factors, including whether the defaulted party was
            culpable or willful in their conduct, whether setting aside
            the default would prejudice the opposing party, and
            whether the defaulted party does not appear to have a
            meritorious defense. Compania, 88 F.3d at 951, citing
            Robinson v. U.S., 734 F.2d 735, 739 (11th Cir. 1984).

1 Although ECF No. 50 omits Defendant KLIEN from the list of individuals
deemed timely served, the Court’s Order to Show Cause (ECF No. 45) and
Plaintiff’s Response thereto (ECF No. 48) include Defendant KLEIN.
Accordingly, this Motion assumes that Defendant KLEIN was also deemed timely
served.
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Theiss v. Giove Law Office, P.C., 2008 WL 2323911, 2 (M.D. Fla. 2008).

Moreover, the standard imposed on the defaulting party for setting aside an entry

of default is different from and less burdensome than the standard for setting aside

a default judgment. EEOC v. Mike Smith Pontiac GMC, Inc., 896 F.2d 524, 527-

28 (11th Cir. 1996). "To set aside an entry of default, the Court must find that: (1)

there was excusable neglect on the part of the defaulting party for not answering

the complaint; (2) the defaulting party responded promptly after notice of the entry

of default; (3) setting aside the default will not prejudice the non-defaulting party;

and (4) the defaulting party had a meritorious defense." Woodbury v. Sears,

Roebuck Co., 152 F.R.D. 229, 236 (M.D. Fla. 1993). Moreover, this Court

recognizes the strong public policy in favor of deciding cases on their merits. See

Florida Physician's Ins. Co. v. Ehlers, 8 F. 3d 780, 783 (11th Cir. 1993).

      The undersigned was just advised of the assignment to represent the six

individual defendants above on Wednesday, May 11, 2022. Immediately upon

receipt of the assignment, the undersigned reviewed the online docket wherein it

was discovered that Clerk’s Defaults were recently entered on April 28, 2022 (ECF

No. 54), pursuant to the Plaintiff’s Application for Clerk’s Default filed on April

25, 2022 (ECF No. 53).

      The undersigned promptly inquired into the matter as to why the assignment

to represent these six defendants had not been timely forwarded to undersigned
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counsel and was told that there was a miscommunication or oversight in

forwarding these assignments at that time.

      There was no willful or culpable conduct leading to the individual

defendants not answering the plaintiff’s amended complaint. It was a result of

oversight and miscommunication between the Florida Department of Corrections,

and the Division of Risk Management. Once the miscommunication and oversight

was discovered, the assignment to the undersigned was made and Notices of

Appearance by the Office of the Attorney General for these individual defendants

was prepared and filed.

      Setting aside the Clerk’s Defaults would not prejudice the Plaintiff as the

case has not been set for trial, and there are multiple pending motions to dismiss

the First Amended Complaint. The case is in its nascence. Additionally, Plaintiff

anticipated that these six defendants would get counsel (ECF No. 48, ¶ 5), and

therefore the notice of appearance of the undersigned for these defendants should

come as no surprise.

      Further, the undersigned anticipates filing a meritorious motion to dismiss

on behalf of the individual defendants based on the statute of limitations as well as

failure to state a cause of action, similar to arguments previously raised by other

defendants in their motions to dismiss. The same facts and law apply to the causes

of action against the individual defendants herein.


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      “Good cause” is a “mutable” and “liberal” standard, “varying from situation

to situation” depending on the facts of a given case. Compania, 88 F.3d at 951.

The undersigned has not delayed in filing their Notices of Appearance or moving

to vacate these defaults, which have only been entered in the record for 16 days.

      Further, Rule 5(a)(2), Fed. R. Civ. Pro., entitled “If a Party Fails to Appear,”

provides: “No service is required on a party who is in default for failing to appear.

But a pleading that asserts a new claim for relief against such a party must be

served on that party under Rule 4.” (bold emphasis added). Plaintiff filed his

First Amended Complaint against all defendants on February 18, 2022. (ECF No.

30). This was shortly after service of the initial complaint and the First Amended

Complaint.

      Upon information and belief, none of the defendants identified herein have

been served with the First Amended Complaint either through additional service or

via mail or email. Nor did the Plaintiff provide these defendants with the Amended

Complaint.

      It is well settled that an amended complaint supersedes the previous

complaint. See Fritz v. Standard Sec. Life Ins. Co. of N.Y., 676 F.2d 1356, 1358

(11th Cir. 1982) (an amended complaint supersedes the original complaint);

Dussouy v. Gulf Coast Inv. Corp., 660 F.2d 594, 601 (5th Cir. 1981). Thus, the

allegations of the initial complaint have been now replaced with the allegations of


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the First Amended Complaint, which, pursuant to Rule 5(a)(2), “must be served on

that party under Rule 4.” As this was never accomplished by the Plaintiff, the

Clerk’s Defaults as to these six defendants was premature as the initial complaint

was no longer the operative complaint. These defendants should be provided the

opportunity to respond to and defend against the First Amended Complaint of

which they had no notice.

      In this situation, the undersigned respectfully suggests that good cause has

been shown such that the Clerk’s Defaults (ECF No. 54) should be vacated to

allow the defendants to respond to Plaintiff’s First Amended Complaint and for

this Court to decide the matter on its merits.

                                        Respectfully submitted,

                                        ASHLEY B. MOODY
                                        ATTORNEY GENERAL

                                        /s/ Anthony Dean Johnson
                                        Anthony Dean Johnson
                                        Assistant Attorney General
                                        Florida Bar No.: 12084

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                         CERTIFICATE OF SERVICE

      I HEREBY CERTIFY that a copy of the foregoing has been electronically

filed through the Court’s CM/ECF system which will provide electronic service to

all counsel of record this 13th day of May 2022.

                                             /s/ Anthony Dean Johnson
                                             Anthony Dean Johnson




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